ease 2:03-cr-20364-SHl\/l Document 151 Filed 03/30/05 Page 1 016 Pag.elD 185
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MEMPH|S DIV|SION
UNITED STATES OF AMER|CA

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-v- 03-20364-02-Ma CLEE'?`;J:-§~ D¥Si?‘llcfcqm
wl 1111 _l,iEiJMS
T|WANN DeWAYNE JEFFERSON
J-Pa'de___n_BMo.l_ll._f-'L[_>
Defense Attorney

200 Jefferson Avenue, Suite 200
Memphis, Tennessee 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on May 23, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Tit|e & §ectign Natur of Offense gongludeg Ngmber(s)
18 U.S.C. § 2113(a) Armed Bank Ftobbery; 09/11/2003 1

18 U.S.C. § 2 aiding and abetting

The defendant is sentenced as provided in the following pages of this judgmentl The
sentence is imposed pursuant to the Sentenoing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Count 2 is dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of |mposition of Sentence:
Defendant’s Date of Birth: 01/31/1976 August 24, 2005
Deft’s U.S. Marsha| No.: 19176-076

Defendant’s Residence Address:
1717 Castex, Apt. 3
Memphis, TN 38109

.l/ dmi

SAMUEL H. MAYS, JFi.
UNITED STATES D|STR|CT JUDGE

'2 °l
This document entered on the docket sh t fn compliance
with P..i:e 55 and/or azib) Fech on _Y_/Q_’_O§_

 

August , 2005

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Case No: 03-20364-02-Ma
Defendant Name: Tiwann DeWayne Jefferson Page 2 of 5

|MPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of forty-one (41) months.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Priscns as notified by the United States Marshal. Defendant shall be allowed ninety
(90) days to report to the designated facility.

F'IETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES MAFISHAL
By:

 

Deputy U.S. |Vlarsha|

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Case No: 03-20364-02-Ma
Defendant Name: Tiwann DeWayne Jefferson Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of three (3) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and fo|iow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schoolingl training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances except as prescribed by a physician and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activityl and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Caee No: 03-20364-02-Ma
Defendant Name: Tiwann DeWayne Jefferson Page 4 of 5

10.

11.

12.

13.

The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

Ae directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirementl

|f this judgment imposes a fine or a restitution obligation it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised

release:

1.

The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

The defendantshall be prohibited from incurring new credit charges, opening additional lines
of credit, or making an obligation for any major purchases without approval of the Probation
Officer.

The defendant shall provide the Probation Officer access to any requested financial
information.

The defendant shall pay restitution in regular monthly installments of not less than 10% of
gross monthly income.

The defendant shall notify the U.S. Attorney and the Court of any material change in
economic circumstances that may affect defendant’s ability to pay restitution

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Oase No: 03-20364-02-Ma
Defendant Name: Tiwann DeWayne Jefferson Page 5 of 5

CFl|MlNAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The interest
requirement is waived. All of the payment options in the Schedu|e of Payments may be
subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total A§§e§§ment Tota| Fine Tg_tal Ftestitution
$100.00 $2141.00

The Special Assessment shall be due immediately

FlNE
No fine imposed

REST|TUT|ON

Ftestitution in the amount of $2141.00 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

Priority Order
Total Amount Amount of or Percentage
Name 91 pglfee of Los§ Ftestitutlon r r d of Payment

CUN||S insurance Society, lnc. $2,141.00 $2,141.00

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 151 in
case 2:03-CR-20364 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
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Fourth Floor

1\/1emphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

.1. Patten BroWn

FEDERAL PUBLIC DEFENDER
200 .1 efferson Ave.

Ste. 200

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

